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o Toy Train Table

G ipment

HUSCH BLACKWELL

Pool Table Parts

| Mirror
1 Chandelier
=| Two Q) Armchairs

Beds

-| Christmas items

Toys
Baby Strollers

| Tools

Vases
China

| Glasses

Tools
Christmas items
Cushions

Easter items

|} Toy Car

Linens
Vac
China

‘| Christmas items
“| Toys

Gard tools
Printer

ent

Office chairs
Christmas items

Tools
Table

1 Christmas items
| Tools

4 Table
=) Mirror

Kitchen items

“7 5\_Appliances
oe | Credenza
| Credenza

Side table from foyer

 

1 Bar Stool

 
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HUSCH BLACKWELL

Christmas items
Po Barn child’s bed
| Mirror
“al Flowers
‘e-| Baskets
‘| Glass dishes and bowls
China
Lighti
| Liquor
Microwave
Suitcases

Garment ba

=| Gun case
Albums

| P lies
Decorative items
Clothes
Metal Ram
Ceramics
| Halloween items
Decorations
Four (4) TVs
Basement items
TV
Clothin
Foyer round table
| Christmas deer
| Clo

 

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